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                      IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                               PINE BLUFF DIVISION

ROMIE GRADY                                                                      PLAINTIFF
ADC #100730

v.                                    5:17CV00273-JM

WENDY KELLEY, Director,
Arkansas Department of Correction; et al.                                    DEFENDANTS

                                        JUDGMENT

       Consistent with the Order that was entered on this day, it is CONSIDERED, ORDERED,

and ADJUDGED that this case is DISMISSED. The Court certifies, pursuant to 28 U.S.C.

' 1915(a)(3), that an in forma pauperis appeal from this Judgment and the corresponding Order

would not be taken in good faith.

       IT IS SO ORDERED this 29th day of October, 2018.


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                                                  James M. Moody Jr.
                                                  United States District Judge
